Case 4:19-cv-11283-SDD-DRG ECF No. 29, PageID.322 Filed 05/19/20 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

CONTINENTAL CAFÉ, LLC, d/b/a
CONTINENTAL CANTEEN, d/b/a
CONTINENTAL SERVICES,

               Plaintiff,
                                                Case No. 2:19-CV-11283-GCS-DRG
v.                                              Honorable Stephanie Dawkins Davis
                                                Magistrate Judge David R. Grand
AVANTI MARKETS, INC., and
INGENICO GROUP,

               Defendants.


                    STIPULATED ORDER OF DISMISSAL
                AS TO DEFENDANT AVANTI MARKETS, INC.

        This matter having come before the Court upon the stipulation of the parties,

and the Court being otherwise fully advised in the premises;

        IT IS HEREBY ORDERED that this matter is dismissed as to Defendant

Avanti Markets, Inc., the only remaining Defendant in this case, with prejudice and

with each party to bear its own fees and costs. This is a final order and closes the

case.

        IT IS SO ORDERED.




Dated: May 19, 2020                     s/Stephanie Dawkins Davis
                                        Hon. Stephanie Dawkins Davis
                                        United States District Judge
                  Case 4:19-cv-11283-SDD-DRG ECF No. 29, PageID.323 Filed 05/19/20 Page 2 of 2




                  Approved as to Form and Substance
                  Notice of Entry Waived:

                  /s/ Miles T. Macik
                  Miles T. Macik
                  450 W. Fourth St.
                  Royal Oak, Michigan 48067
                  (248) 723-0467
                  MMacik@HowardandHoward.com
                  Attorneys for Plaintiff Continental

                  Dated: May 15, 2020


                  /s/ Ashley Eckerly
                  Ashley Eckerly
                  400 Renaissance Center, Ste. 2600
                  Detroit, Michigan 48243
                  (313) 980-6775
                  aeckerly@grsm.com
                  Attorneys for Defendant Avanti

                  Dated: May 15, 2020




                  4844-6739-2444, v. 1

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